
Randall Dejuan Glover appeals the denial of his petition, which is styled as a "Petition for Writ of Habeas Corpus." A review of the petition reveals that the allegations raised therein should be entertained in a proceeding under Rule 32, A.R.Crim.P. This court has consistently held that when a post-conviction petition styled as a petition for writ of habeas corpus is filed and the allegations raised in the petition are cognizable in a proceeding under Rule 32, A.R.Crim.P., the cause should be entertained in the court of original conviction and the petitioner should be given the opportunity to file a petition in the proper form as required by Rule 32.6(a). Drayton v. State, 600 So.2d 1088
(Ala.Crim.App. 1992) (and cases cited therein). Therefore, this case is remanded to the circuit court with directions that the petition be returned to the appellant so that he can have the opportunity to file a proper Rule 32 petition.
REVERSED AND REMANDED.
All the Judges concur.